       Case 5:20-cv-01389-NC Document 34 Filed 05/01/20 Page 1 of 2



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9                              UNITED STATES DISTRICT COURT
10                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
11   Narciso Primero Garcia,                      Case No. 5:20-cv-01389-NC
12                    Petitioner,
13   WILLIAM P. BARR, Attorney General, et al.,
                                                  ORDER OF DISMISSAL
14
                      Respondents.
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                                                               [ORDER OF DISMISSAL
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1            Upon request of Plaintiff and good cause appearing, IT IS HEREBY ORDERED that this
2    action be and hereby is dismissed without prejudice in its entirety. The clerk is directed to close
3    this action.
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5            IT IS SO ORDERED.                                          ISTRIC
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8     Dated:        May 1, 2020                                          GRAN




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9                                                          Nathanael M. Cousins
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                                                           United States Magistrate Judge
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